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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF KENTUCKY
                                  ASHLAND DIVISION

  Quentin J. Thompson,                              )
         Plaintiff,                                 )
                                                    )
  v.                                                )         Case No. 0:13-CV-00096-HRW
  Midland Funding, LLC,                             )
                                                    )
         Defendant.                                 )

                             JOINT STIPULATION OF DISMISSAL

         Plaintiff Quentin J. Thompson and Defendant Midland Funding, LLC hereby stipulate to

  the dismissal, with prejudice, of the above style lawsuit and any and all claims contained therein.

  The parties have entered a full and final settlement to dispose of all claims. As a result, the

  parties request that this case be dismissed with prejudice, with all costs taxed as paid.


                                                Respectfully submitted,


                                                /s/ James R. McKenzie
                                                One of the Attorneys for Quentin Thompson

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                                                /s/ Jason B. Tompkins (by permission)
                                                One of the Attorneys for Midland


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                                   CERTIFICATE OF SERVICE

         I hereby certify that service will be perfected upon all counsel of record via electronic mail,

  or the Court’s CM/ECF system on this the 11th day of March, 2021.

                                                /s/ James R. McKenzie
                                                James R. McKenzie
                                                Counsel for Plaintiff
                                                Quentin J. Thompson




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